

Matter of Bader (2020 NY Slip Op 02318)





Matter of Bader


2020 NY Slip Op 02318


Decided on April 16, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 16, 2020

PM-56-20

[*1]In the Matter of Hans Frank Bader, an Attorney. (Attorney Registration No. 2704203.)

Calendar Date: April 13, 2020

Before: Garry, P.J., Lynch, Clark, Mulvey and Pritzker, JJ.


Hans Frank Bader, Arlington, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Hans Frank Bader was admitted to practice by this Court in 1995 and lists a business address in Arlington, Virginia with the Office of Court Administration. Bader now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Bader's application.
Upon reading Bader's affidavit sworn to December 5, 2019 and filed December 10, 2019, and upon reading the March 12, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Bader is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Lynch, Clark, Mulvey and Pritzker, JJ., concur.
ORDERED that Hans Frank Bader's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Hans Frank Bader's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Hans Frank Bader is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Bader is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Hans Frank Bader shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








